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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA                     :
                                             :
       vs.                                   :         1:18-cr-123-6
                                             :
HENRY ZELAYA-MARTINEZ,                       :
                                             :
       Defendant.                            :        Honorable Rossie D. Alston
                                             :




 MEMORANDUM ON SUPPLEMENTAL AUTHORITY TO DEFENDANT’S MOTION
   TO SUPPRESS EVIDENCE SEIZED FROM SEARCH OF CELLULAR PHONE

       Comes now, Defendant, by counsel, and respectfully supplements his prior motion to this

Court to suppress all evidence flowing from the seizure and subsequent search of his cellular

phone with additional Fourth Circuit authority— United States v. Oloyede, ____ F.3d ____ (4th

Cir., July, 2019)(No. 17-4102, No. 17-4186, No. 17-4191, No. 17-4207). In Defendant’s motion,

he raises both Fourth and Fifth Amendment challenges to the search and seizure of the cellular

phone. As described below, United States v. Oloyede indicates his Fifth Amendment challenge is

not sustainable. Defendant does not believe Oloyede affects his Fourth Amendment challenge.

       In July 2019, the Fourth Circuit, in United States v. Oloyede, held that the contents of a

cell phone are not suppressible where the phone’s code was voluntarily provided to law enforce-

ment even if the code was obtained in violation of Miranda. United States v. Oloyede, ____ F.3d

____ (4th Cir., July, 2019)(No. 17-4102, No. 17-4186, No. 17-4191, No. 17-4207). Oloyede re-

lies on United States v. Patane, which found that the fruits of unwarned voluntary statements are

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not suppressible. United States v. Patane, 542 U.S. 630, 634 (2004)(plurality opinion)(“Because

the Miranda rule protects against violations of the Self-Incrimination Clause, which, in turn, is

not implicated by the introduction at trial of physical evidence resulting from voluntary state-

ments,” the Court declined to apply the exclusionary rule to the fruits of an unwarned, voluntary

statement).

       While Defendant respectfully disagrees that the fruit of a Fifth Amendment violation

should be admissible, he recognizes in light of Oloyede and Patane, his Fifth Amendment chal-

lenge is largely irrelevant because even if the cell phone code itself were suppressed under the

Fifth Amendment, the cell phone’s contents would still be admissible.

       However, Defendant believes that his Fourth Amendment challenge is not impacted

by Oloyede and Patane as he asserts in his motion “that the agent’s illegal trespass into his cell

phone facilitated and, in Defendant’s view, irremediably taints, the later search of the cell

phone’s contents via warrant because the illegal obtaining and confirming of the code was used

to execute the warrant—that is, the later search of the phone via warrant cannot cure the previous

illegal intrusion of the phone because it is fruit of it.” See Defendant’s Motion to Suppress Evi-

dence Seized from Search of Cellular Phone at 5-6.



                                                       Respectfully submitted,


                                                       _____/s/________________________
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                         CERTIFICATE OF SERVICE

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        I hereby certify that a copy of the foregoing was filed via ECF and thereby forwarded to
all counsel of record on this 1st day of January, 2020.


                                                     _____/s/________________________
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